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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                                             CASE NO: 21-CR-175-TJK
v.

ENRIQUE TARRIO,

                         Defendant.

_______________________________/

    ENRIQUE TARRIO’S MOTION TO DIRECT THE BUREAU OF PRISONS TO HOUSE
    TARRIO IN THE ALEXANDRIA DETENTION CENTER DURING PENDENCY OF HIS
                                SENTENCE

        Enrrique Tarrio, by his undersigned counsel, hereby respectfully moves this Honorable

Court to enter an Order directing that the United States Marshall’s house and allow Mr. Tarrio to

remain in Alexandria Facility throughout his remaining sentence. Mr. Tarrio states the following

forthwith as a basis for his request:

     1. Mr. Tarrio was detained in March 2022 and this Honorable Court imposed sentence on

        Mr. Tarrio on September 5, 2023, to a period of twenty-two (22) years in the Bureau of

        Prisons (“BOP”). As part of the sentence, the Court made certain recommendations

        including, but not limited to, that the BOP confine Mr. Tarrio to the facility closest to the

        Southern District of Florida as possible.

     2. Nonetheless, Mr. Tarrio has NOT been housed nowhere remotely close to the Southern

        District of Florida. Additionally, Mr. Tarrio has not remained in any one facility for any

        extended time not by his own making but the creation of the BOP. 1          0F




     3. Furthermore, Mr. Tarrio has been relocated over twenty-three times since the

        commencement of this case. During this relocation process, the families and friends’


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  The only exception would be from October 2023 to September 2024 in Manchester Federal Correctional Institute
in Kentucky.
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        ability to provide commissary is null and void. As part of the relocation process, Mr.

        Tarrio has been subjected to two-week periods or more in the Special Housing Unit

        (“SHU”) as part of the transfer process. While in the SHU, an inmate is precluded from

        many of the privileges that other inmates are given including yard time. In fact, an inmate

        is routinely housed in solidarity for blocks of twenty-three (22) hours in isolation in a cell

        with one hour of outside time also held in seclusion. Sometimes even full days in

        seclusion. The SHU is normally reserved for individuals that are committing wrongdoing

        while in a correctional facility. The inmate is also limited to opportunities to speak with

        family, appellate counsel and other allotments of time given to other inmates.

    4. The SHU also imposes certain mental health concerns at risk. It is routinely stated that

        individuals need contact with other individuals so that their well-being is not impacted. 2            1F




        Those concerns are not addressed in this case.

    5. Yet, Mr. Tarrio is subjected to the SHU just because of his relocation process. As part of

        this motion, this Honorable Court will see attached a list of all the locations Mr. Tarrio

        has been transferred to, the time periods of relocations, and the time periods associated

        with his SHU where he is given limited exposure with others.

    6. By entering this Order, this Honorable Court can ensure that Mr. Tarrio has adequate

        communication with his appellate counsel, his mental health is not impacted, and he is

        not held in seclusion from other inmates or from family members,

    7. It is well understood that the Court does not normally direct the United States Marshalls

        Office and/or Bureau of Prisons on how an inmate is supposed to be housed and where to

        be housed. Yet, this Honorable Court directed the United States Marshalls to transport


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 https://pmc.ncbi.nlm.nih.gov/articles/PMC6987940/#:~:text=Many%20studies%20document%20psychological%2
0harms,that%20psychological%20impacts%20are%20limited. “Many studies document psychological harms of
segregation, including associations between solitary confinement and self-harm, anxiety, depression, paranoia, and
aggression, among other symptoms,7–9 …..”

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        Mr. Tarrio to Federal Detention Cetner (“FDC”) Miami on May 27, 2022. 3 Mr. Tarrio is  2F




        requesting that this Honorable Court take the same direction and impose an order like that

        previously imposed.

    WHEREFORE, Mr. Tarrio requests that this Honorable Court enter an Order directing that

the Bureau of Prisons allows him to remain housed in Alexandria Detention Center during the

pendency of his sentence hereby terminating all issues with relocation process.

                                                    Respectfully submitted,

                                                    /s/ Nayib Hassan
                                                    _____________________________
                                                    Nayib Hassan, Esq., Fla Bar No. 20949
                                                    Attorney for Defendant
                                                    LAW OFFICES OF NAYIB HASSAN, P.A.
                                                    6175 NW 153 St., Suite 209
                                                    Miami Lakes, Florida 33014
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 D.E 372 (“At the request of Defendant Tarrio and the Government, it is hereby ORDERED that the United States
Marshals Service transport Tarrio forthwith to Federal Detention Center (“FDC”) Miami in the Southern District of
Florida.”
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                              CERTICICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

noticed through the CM/ECF system to the US Attorney’s Office on this 4th day of December 2024

to the following:

       Jason McCollough

                                           Respectfully submitted,

                                           /s/ Nayib Hassan
                                           _____________________________
                                           Nayib Hassan, Esq., Fla Bar No. 20949
                                           Attorney for Defendant
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